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                           UNITED STATES DISTRICT COURT

                          WESTERN DISTRICT OF LOUISIANA

                                    MONROE DIVISION

 STACEY AULTMAN, ET AL.                            CIVIL ACTION NO. 16-1133

 VERSUS                                            JUDGE ROBERT G. JAMES

 VIJAY MAGGIO, ET AL.                              MAG. JUDGE PEREZ-MONTES


                                        JUDGMENT

        Upon consideration,

        IT IS ORDERED, ADJUDGED, AND DECREED that the Consent Motion to Dismiss

 [Doc. No. 69], filed by Defendants Vijay Maggio, M.D., Amanda Schaefer, and Biotronic

 National, LLC, is GRANTED, and any and all claims and causes of action asserted against

 Defendants by Intervenor Plaintiffs ACE American Insurance Co. and O’Reilly Automotive

 Stores, Inc. are DISMISSED WITH PREJUDICE.

        MONROE, LOUISIANA, this 8th day of February, 2018.
